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                                                                                            APR 132812
                 IN THE UNITED STATES DISTRICT COURT FOR TH
                            EASTERN DISTRICT OF VIRGINIA
                                                                                     r ERK U.S. DISTRICT COURT
                                  Alexandria Division                                 '   Al FXANDRIA. VIRGINIA


UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                                      Case No.: l:I2-cr-3


KIM DOTCOM, et al.,

                      Defendants.


                                             ORDER


       Before the Court are the Emergency Motion for Protective Order By Non-Party Carpathia

Hosting, Inc. (Dkt. No. 38); the Motion Of Quinn Emanuel Urquhart & Sullivan LLP and The

Rothken Law Firm for Leave to Enter Limited Appearance on Behalf of Megaupload Limited

and Kim Dotcom (Dkt. No. 59); the Motion of Defendant-Megaupload to File Nunc Pro Tunc

[Proposed] Response to the Emergency Motion for Protective Order of Non-Party Carpathia

Hosting, Inc. (Dkt. No. 66); the Motion to Amend/Correct the Motion to File Nunc Pro Tunc

(Dkt. No. 67); and the Motion to Substitute Counsel (Dkt. No. 69).

       For the reasons stated herein, as well as the reasons stated in open Court, the Court

concludes the following:

       As to the Emergency Motion for Protective Order (Dkt. No. 38), interested parties are

Ordered, within the next two weeks, to meet and confer in front of the magistrate judge.

Alternatively, the parties may hire a special master of their choosing. Should the parties fail to

reach an agreeable result, parties are ORDERED to notify the Court.

       The Motion for Leave to Enter Limited Appearance (Dkt. No. 59) is GRANTED in part

and DENIED in part. It is GRANTED only to the extent that argument was permitted before the
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